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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 ALTPASS LLC,

                       Plaintiff,

               v.
                                                        Civil Action No. 2:20-cv-0105
 ONEPLUS TECHNOLOGY
                                                        JURY TRIAL DEMANDED
 (SHENZHEN) CO., LTD. AND T-
 MOBILE USA, INC.,


                       OnePlus.


             NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Altpass LLC (“Plaintiff”), by and

through its undersigned counsel, hereby voluntarily dismisses all claims in this action without

prejudice against Defendant T-Mobile USA, Inc. (“T-Mobile”). Prior to the filing of this motion,

Defendant T-Mobile has yet to file an answer or motion for summary judgment.

       DATED July 1, 2020.                                 Respectfully submitted,

                                                           By: /s/ Neal Massand
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                                                              ATTORNEYS FOR PLAINTIFF
                                                              ALTPASS LLC




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of July, 2020, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. A true and complete copy of the
foregoing document has been served upon all counsel of record.
                                                              /s/ Neal Massand
                                                              Neal Massand
